                    Case 18-10403               Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                              Desc Main
                                                              Document     Page 1 of 104
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     David                                                           Renee
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        T.                                                              P.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Hellyer, Jr.                                                    Hellyer
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3017                                                     xxx-xx-4174
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                    Case 18-10403           Doc 1         Filed 04/10/18 Entered 04/10/18 12:04:30                             Desc Main
                                                           Document     Page 2 of 104
Debtor 1   David T. Hellyer, Jr.
Debtor 2   Renee P. Hellyer                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have DBA Hellyer Custom Builders, Inc.;
     used in the last 8 years XX-XXXXXXX
                                 DBA Hellyer Custom Carpentry, Inc.;
                                 XX-XXXXXXX
                                 DBA D&A Property Management, LLC                                 I have not used any business name or EINs.
                                 DBA Warner Cabinets, Inc.; XX-XXXXXXX
                                 DBA Oak Tree Properties, LLC
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 211 Ehrenwald Drive
                                 Millington, IL 60537
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Kendall
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 18-10403            Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                               Desc Main
                                                             Document     Page 3 of 104
Debtor 1    David T. Hellyer, Jr.
Debtor 2    Renee P. Hellyer                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Hellyer Custom Builders, Inc.                                Relationship to you        Owner
                                              District    Northern                      When     4/10/18               Case number, if known      18-10373
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 18-10403            Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                                  Desc Main
                                                           Document     Page 4 of 104
Debtor 1    David T. Hellyer, Jr.
Debtor 2    Renee P. Hellyer                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 18-10403              Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                            Desc Main
                                                             Document     Page 5 of 104
Debtor 1    David T. Hellyer, Jr.
Debtor 2    Renee P. Hellyer                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                    Case 18-10403           Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                                    Desc Main
                                                          Document     Page 6 of 104
Debtor 1    David T. Hellyer, Jr.
Debtor 2    Renee P. Hellyer                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ David T. Hellyer, Jr.                                         /s/ Renee P. Hellyer
                                 David T. Hellyer, Jr.                                             Renee P. Hellyer
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     April 10, 2018                                    Executed on     April 10, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                    Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                             Desc Main
                                                               Document     Page 7 of 104
Debtor 1   David T. Hellyer, Jr.
Debtor 2   Renee P. Hellyer                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Carl F. Safanda                                                Date         April 10, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Carl F. Safanda 2440695
                                Printed name

                                Safanda Law Firm
                                Firm name

                                111 East Side Drive
                                Geneva, IL 60134
                                Number, Street, City, State & ZIP Code

                                Contact phone     (630) 262-1761                             Email address         Plegal@xnet.com
                                2440695 IL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                       Case 18-10403                  Doc 1            Filed 04/10/18 Entered 04/10/18 12:04:30                                                  Desc Main
                                                                        Document     Page 8 of 104
 Fill in this information to identify your case:

 Debtor 1                   David T. Hellyer, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Renee P. Hellyer
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            400,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            126,362.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            526,362.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            512,444.18

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $            508,981.34

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $         1,831,194.95


                                                                                                                                     Your total liabilities $              2,852,620.47


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                     0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $             11,127.27

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                       Desc Main
                                                                  Document     Page 9 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            508,981.34

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $             30,459.31

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            539,440.65




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                       Case 18-10403                     Doc 1              Filed 04/10/18 Entered 04/10/18 12:04:30                                         Desc Main
                                                                             Document     Page 10 of 104
 Fill in this information to identify your case and this filing:

 Debtor 1                    David T. Hellyer, Jr.
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Renee P. Hellyer
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number                                                                                                                                                        Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        211 Ehrenwald Drive                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Millington                        IL        60537-0000                         Land                                       entire property?              portion you own?
        City                              State              ZIP Code                  Investment property                                $400,000.00                  $400,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              fsa
        Kendall                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                       At least one of the debtors and another          (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                      page 1
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                   Case 18-10403                         Doc 1           Filed 04/10/18 Entered 04/10/18 12:04:30                                               Desc Main
                                                                          Document     Page 11 of 104
 Debtor 1         David T. Hellyer, Jr.
 Debtor 2         Renee P. Hellyer                                                                                              Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        1999 Bucktail Lane, Ste. 4                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the         Current value of the
        Sugar Grove                       IL        60554-0000                        Land                                            entire property?             portion you own?
        City                              State              ZIP Code                 Investment property                                        Unknown                      Unknown
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                                                                      Contract purchaser is D&A Property
                                                                                      Debtor 1 only                                   Management, LLC (100% owned)
        Kendall                                                                       Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                            $400,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Jeep                                            Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Wrangler                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2014                                               Debtor 2 only
                                                                                                                                       Current value of the        Current value of the
          Approximate mileage:                       55,000                Debtor 1 and Debtor 2 only                                  entire property?            portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $16,000.00                   $16,000.00
                                                                           (see instructions)



  3.2     Make:         Ford                                            Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        F350                                               Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2016                                               Debtor 2 only
                                                                                                                                       Current value of the        Current value of the
          Approximate mileage:                       70,000                Debtor 1 and Debtor 2 only                                  entire property?            portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $26,000.00                   $26,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 2
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                  Case 18-10403                   Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 12 of 104
 Debtor 1        David T. Hellyer, Jr.
 Debtor 2        Renee P. Hellyer                                                                                   Case number (if known)


  3.3    Make:       Mercedes                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      ML350                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                  50,000                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $6,500.00                  $6,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Cobalt                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      R7                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                             $75,000.00                  $75,000.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $123,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Contents of 4 bedroom home                                                                                                        $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Cell phones (2), computer, TVs (2)                                                                                                $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
       No
       Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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                   Case 18-10403                             Doc 1               Filed 04/10/18 Entered 04/10/18 12:04:30                              Desc Main
                                                                                  Document     Page 13 of 104
 Debtor 1          David T. Hellyer, Jr.
 Debtor 2          Renee P. Hellyer                                                                                           Case number (if known)


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            2 adults                                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $1,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                First National Bank (Personal)                                      $1,800.00



                                              17.2.       Checking                                First National Bank (Personal)                                          $62.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 4
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                  Case 18-10403                     Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                                 Desc Main
                                                                  Document     Page 14 of 104
 Debtor 1         David T. Hellyer, Jr.
 Debtor 2         Renee P. Hellyer                                                                            Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

                                            Hellyer Custom Builders, Inc.                                            100         %                             $0.00


                                            Hellyer Custom Carpentry, Inc. (inactive)                                100         %                             $0.00


                                            D&A Property Management, LLC                                             100         %                             $0.00


                                            Warner Cabinets, Inc.                                                    100         %                             $0.00


                                            Oak Tree Properties, LLC                                                 100         %                             $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

Money or property owed to you?                                                                                                              Current value of the
Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 5
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                  Case 18-10403                       Doc 1            Filed 04/10/18 Entered 04/10/18 12:04:30                                                Desc Main
                                                                        Document     Page 15 of 104
 Debtor 1        David T. Hellyer, Jr.
 Debtor 2        Renee P. Hellyer                                                                                                Case number (if known)

                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                              IRS has offest refunds against amount
                                                                  owed for 941 withholding                                                                                    Unknown




                                                              2017 tax returns on extension                                                                                   Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Brighthouse Life Insurance
                                             ($1,500,000.00 term)                                                     Renee P. Hellyer                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $1,862.00


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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                   Case 18-10403                         Doc 1            Filed 04/10/18 Entered 04/10/18 12:04:30                                               Desc Main
                                                                           Document     Page 16 of 104
 Debtor 1         David T. Hellyer, Jr.
 Debtor 2         Renee P. Hellyer                                                                                                      Case number (if known)

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $400,000.00
 56. Part 2: Total vehicles, line 5                                                                         $123,500.00
 57. Part 3: Total personal and household items, line 15                                                      $1,000.00
 58. Part 4: Total financial assets, line 36                                                                  $1,862.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $126,362.00               Copy personal property total        $126,362.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $526,362.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                             Desc Main
                                                                  Document     Page 17 of 104
 Fill in this information to identify your case:

 Debtor 1                  David T. Hellyer, Jr.
                           First Name                       Middle Name                 Last Name

 Debtor 2                  Renee P. Hellyer
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      211 Ehrenwald Drive Millington, IL                             $400,000.00                               $30,000.00      735 ILCS 5/12-901
      60537 Kendall County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2009 Mercedes ML350 50,000 miles                                 $6,500.00                                 $4,800.00     735 ILCS 5/12-1001(c)
      Line from Schedule A/B: 3.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Contents of 4 bedroom home                                          $200.00                                  $200.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Cell phones (2), computer, TVs (2)                                  $300.00                                  $300.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2 adults                                                            $500.00                                  $500.00     735 ILCS 5/12-1001(a)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                Desc Main
                                                                  Document     Page 18 of 104
 Debtor 1    David T. Hellyer, Jr.
 Debtor 2    Renee P. Hellyer                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: First National Bank                                    $1,800.00                                  $1,800.00        735 ILCS 5/12-1001(b)
     (Personal)
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: First National Bank                                        $62.00                                    $62.00        735 ILCS 5/12-1001(b)
     (Personal)
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRS has offest refunds against                                   Unknown                                   Unknown           735 ILCS 5/12-1001(b)
     amount owed for 941 withholding
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Brighthouse Life Insurance                                             $0.00                                     $0.00       735 ILCS 5/12-1001(f)
     ($1,500,000.00 term)
     Beneficiary: Renee P. Hellyer                                                         100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                     Desc Main
                                                                  Document     Page 19 of 104
 Fill in this information to identify your case:

 Debtor 1                   David T. Hellyer, Jr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Renee P. Hellyer
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Citizens Bank                            Describe the property that secures the claim:                  Unknown                 $26,000.00            Unknown
         Creditor's Name                          2016 Ford F350 70,000 miles

                                                  As of the date you file, the claim is: Check all that
         900 E. Market Street                     apply.
         Somonauk, IL 60552                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Vehicle loan
       community debt

 Date debt was incurred                                    Last 4 digits of account number        3914

         Huntington Installment
 2.2                                                                                                            $88,601.45               $75,000.00           $13,601.45
         Loans                                    Describe the property that secures the claim:
         Creditor's Name                          2014 Cobalt R7

         POB 18259
                                                  As of the date you file, the claim is: Check all that
         Columbus, OH                             apply.
         43218-2519                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Boat loan
       community debt

 Date debt was incurred                                    Last 4 digits of account number        0325

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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                  Case 18-10403                    Doc 1            Filed 04/10/18 Entered 04/10/18 12:04:30                              Desc Main
                                                                     Document     Page 20 of 104
 Debtor 1 David T. Hellyer, Jr.                                                                               Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Renee P. Hellyer
               First Name                  Middle Name                      Last Name




 2.3     Mr. Cooper                                 Describe the property that secures the claim:                  $349,112.23        $400,000.00             $0.00
         Creditor's Name                            211 Ehrenwald Drive Millington, IL
                                                    60537 Kendall County
                                                    As of the date you file, the claim is: Check all that
         POB 65073                                  apply.
         Dallas, TX 75265-0783                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9202

 2.4     SunTrust Mortgage, Inc.                    Describe the property that secures the claim:                   $57,173.19        $400,000.00       $6,285.42
         Creditor's Name                            211 Ehrenwald Drive Millington, IL
                                                    60537 Kendall County
         POB 79041
                                                    As of the date you file, the claim is: Check all that
         Baltimore, MD                              apply.
         21279-0041                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     US Bank                                    Describe the property that secures the claim:                   $17,557.31         $16,000.00       $1,557.31
         Creditor's Name                            2014 Jeep Wrangler 55,000 miles

         POB 790179
                                                    As of the date you file, the claim is: Check all that
         Saint Louis, MO                            apply.
         63179-0179                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Vehicle loan
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9310




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                               Desc Main
                                                                  Document     Page 21 of 104
 Debtor 1 David T. Hellyer, Jr.                                                                   Case number (if know)
              First Name                Middle Name                  Last Name
 Debtor 2 Renee P. Hellyer
              First Name                Middle Name                  Last Name


   Add the dollar value of your entries in Column A on this page. Write that number here:                        $512,444.18
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                       $512,444.18

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                        Desc Main
                                                                  Document     Page 22 of 104
 Fill in this information to identify your case:

 Debtor 1                     David T. Hellyer, Jr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Renee P. Hellyer
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          IL Dept. of Employment Security                        Last 4 digits of account number                          Unknown           Unknown               Unknown
              Priority Creditor's Name
              33 S. State Street, 10th Floor                         When was the debt incurred?
              Chicago, IL 60603-2802
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 45
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                  Case 18-10403                   Doc 1           Filed 04/10/18 Entered 04/10/18 12:04:30                                           Desc Main
                                                                   Document     Page 23 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                   Case number (if know)

 2.2        Illinois Dept. of Revenue                                Last 4 digits of account number     5442                $8,981.34                    $0.00             $8,981.34
            Priority Creditor's Name
            Bankruptcy Section, Level 7-425                          When was the debt incurred?
            100 W. Randolph Street
            Chicago, IL 60602
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes


                                                                                                                            $500,000.0
 2.3        Internal Revenue Service                                 Last 4 digits of account number                                 0              Unknown                 Unknown
            Priority Creditor's Name
            230 S. Dearborn Street                                   When was the debt incurred?
            Mail Stop 5010 CHI
            Chicago, IL 60604
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 24 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1      A & E Roofing & Siding, Inc.                               Last 4 digits of account number                                                      $50,810.06
          Nonpriority Creditor's Name
          20 S. Locust Street                                        When was the debt incurred?
          Aurora, IL 60506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Roofing and siding services


 4.2      A Mirror Image                                             Last 4 digits of account number                                                        $2,583.00
          Nonpriority Creditor's Name
          510 S. River Street                                        When was the debt incurred?
          Batavia, IL 60510
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Glass and mirror services


 4.3      Alfredo's Iron Works, Inc.                                 Last 4 digits of account number                                                        $1,700.00
          Nonpriority Creditor's Name
          280 W. Lincoln Hwy.                                        When was the debt incurred?
          Cortland, IL 60112
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Metal services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 25 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.4      Alfredo's Iron Works, Inc.                                 Last 4 digits of account number                                                        $8,418.60
          Nonpriority Creditor's Name
          280 W. Lincoln Hwy.                                        When was the debt incurred?
          Cortland, IL 60112
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Metal services


 4.5      Amanda's Lawn Service                                      Last 4 digits of account number       1520                                               $232.45
          Nonpriority Creditor's Name
          POB 612                                                    When was the debt incurred?
          Saint Charles, IL 60175
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawn services


 4.6      American Express                                           Last 4 digits of account number       1005                                           $70,928.55
          Nonpriority Creditor's Name
          POB 0001                                                   When was the debt incurred?
          Los Angeles, CA 90096-8000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card - general merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 26 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.7      American Express                                           Last 4 digits of account number       2009                                               $253.28
          Nonpriority Creditor's Name
          POB 0001                                                   When was the debt incurred?
          Los Angeles, CA 90096-8000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business credit card


 4.8      April Fresh Cleaning Services                              Last 4 digits of account number                                                        $3,563.75
          Nonpriority Creditor's Name
          10 S. 059 Schoger Drive, #19                               When was the debt incurred?
          Naperville, IL 60564
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cleaning services


 4.9      April Fresh Cleaning Services                              Last 4 digits of account number                                                          $525.00
          Nonpriority Creditor's Name
          10 S. 059 Schoger Drive, #19                               When was the debt incurred?
          Naperville, IL 60564
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cleaning services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 27 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 0        Artisan Millwork                                           Last 4 digits of account number                                                        $1,325.31
          Nonpriority Creditor's Name
          720 N. 17th Street, #6                                     When was the debt incurred?
          Saint Charles, IL 60174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Millwork services


 4.1
 1        Artisan Millwork                                           Last 4 digits of account number                                                        $3,272.32
          Nonpriority Creditor's Name
          720 N. 17th Street, #6                                     When was the debt incurred?
          Saint Charles, IL 60174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Millwork services


 4.1
 2        Auto-Owners Insurance                                      Last 4 digits of account number       2230                                                   $0.00
          Nonpriority Creditor's Name
          POB 30315                                                  When was the debt incurred?
          Lansing, MI 48909-7815
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 28 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 3        BHFX Digital Imaging                                       Last 4 digits of account number       0789                                             $1,040.00
          Nonpriority Creditor's Name
          80 W. Seegers Road                                         When was the debt incurred?
          Arlington Heights, IL 60005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Printing services


 4.1
 4        Bio Tile & Grout Restoration                               Last 4 digits of account number                                                        $3,190.00
          Nonpriority Creditor's Name
          785 Oakwood Road, Ste. E105                                When was the debt incurred?
          Lake Zurich, IL 60047
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Floor refinishing services


 4.1
 5        Blue Cross Blue Sheild                                     Last 4 digits of account number       3680                                               $923.92
          Nonpriority Creditor's Name
          Health Care Service Corporation                            When was the debt incurred?
          25550 Network Place
          Chicago, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Health care services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 29 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 6        Blue Cross Blue Sheild                                     Last 4 digits of account number       3680                                             $4,732.08
          Nonpriority Creditor's Name
          Health Care Service Corporation                            When was the debt incurred?
          25550 Network Place
          Chicago, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Health care services


 4.1
 7        Burke & Handley, PC                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          799 Roosevelt Road                                         When was the debt incurred?
          Building 6, Ste. 108
          Glen Ellyn, IL 60137-5908
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Mechanic's lien - Country Scape
              Yes                                                       Other. Specify   Landscaping, Inc.


 4.1
 8        Capital One                                                Last 4 digits of account number       7090                                           $20,259.97
          Nonpriority Creditor's Name
          POB 6492                                                   When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card - general merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 30 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 9        Caywood & Associates, Inc.                                 Last 4 digits of account number                                                        $7,605.00
          Nonpriority Creditor's Name
          11000 E. US Rt. 34, Ste. 1                                 When was the debt incurred?
          Plano, IL 60545
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance services


 4.2
 0        Cincinnati Insurance                                       Last 4 digits of account number       3757                                                 $25.00
          Nonpriority Creditor's Name
          POB 145620                                                 When was the debt incurred?
          Cincinnati, OH 45250-5620
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance services


 4.2
 1        Cincinnati Insurance                                       Last 4 digits of account number       7711                                                 $25.00
          Nonpriority Creditor's Name
          POB 145620                                                 When was the debt incurred?
          Cincinnati, OH 45250-5620
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance/workers compensation services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 31 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.2
 2        Cincinnati Insurance                                       Last 4 digits of account number                                                        $1,435.32
          Nonpriority Creditor's Name
          POB 145620                                                 When was the debt incurred?
          Cincinnati, OH 45250-5620
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance/disability services


 4.2
 3        Citi Cards                                                 Last 4 digits of account number       0519                                             $4,826.88
          Nonpriority Creditor's Name
          POB 78045                                                  When was the debt incurred?
          Phoenix, AZ 85062-8045
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card - general merchandise


 4.2
 4        Clean Art Works, Inc.                                      Last 4 digits of account number                                                          $240.00
          Nonpriority Creditor's Name
          200 Winnsboro Court                                        When was the debt incurred?
          Schaumburg, IL 60193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Window and gutter cleaning services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 32 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.2
 5        Clifton Larson Allen LLP                                   Last 4 digits of account number       7776                                             $1,363.04
          Nonpriority Creditor's Name
          POB 775439                                                 When was the debt incurred?
          Chicago, IL 60677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting services


 4.2
 6        Clifton Larson Allen LLP                                   Last 4 digits of account number       0344                                                   $0.00
          Nonpriority Creditor's Name
          POB 775439                                                 When was the debt incurred?
          Chicago, IL 60677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting services


 4.2
 7        Clifton Larson Allen LLP                                   Last 4 digits of account number       7463                                                   $0.00
          Nonpriority Creditor's Name
          POB 775439                                                 When was the debt incurred?
          Chicago, IL 60677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 33 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.2
 8        CNA Surety                                                 Last 4 digits of account number       0765                                                 $50.00
          Nonpriority Creditor's Name
          POB 802876                                                 When was the debt incurred?
          Chicago, IL 60680-2876
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Surety bonds


 4.2
 9        ComEd                                                      Last 4 digits of account number       6018                                             $1,366.51
          Nonpriority Creditor's Name
          POB 6111                                                   When was the debt incurred?
          Carol Stream, IL 60197-6111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.3
 0        ComEd                                                      Last 4 digits of account number       7070                                                   $0.00
          Nonpriority Creditor's Name
          POB 6111                                                   When was the debt incurred?
          Carol Stream, IL 60197-6111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 34 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.3
 1        ComEd                                                      Last 4 digits of account number       4055                                                   $0.00
          Nonpriority Creditor's Name
          POB 6111                                                   When was the debt incurred?
          Carol Stream, IL 60197-6111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.3
 2        Community Disposal                                         Last 4 digits of account number       0257                                               $468.00
          Nonpriority Creditor's Name
          POB 6                                                      When was the debt incurred?
          Sandwich, IL 60548
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Waste services


 4.3
 3        Correct Monitoring Services                                Last 4 digits of account number                                                          $540.00
          Nonpriority Creditor's Name
          3677 N. Illinois Rte. 71                                   When was the debt incurred?
          Sheridan, IL 60551
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Security system services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 35 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.3
 4        Country Scape Landscaping, Inc.                            Last 4 digits of account number                                                        $4,566.00
          Nonpriority Creditor's Name
          1020 Cedar Ave., #2G                                       When was the debt incurred?
          Saint Charles, IL 60174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Landscaping services


 4.3
 5        D&A Property Management, LLC                               Last 4 digits of account number                                                        $1,250.00
          Nonpriority Creditor's Name
          1999 Bucktail Lane                                         When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services


 4.3
 6        D&A Property Management, LLC                               Last 4 digits of account number                                                      $29,010.85
          Nonpriority Creditor's Name
          1999 Bucktail Lane                                         When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 36 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.3
 7        Daniel Duffy                                               Last 4 digits of account number                                                        $2,576.80
          Nonpriority Creditor's Name
          Clear Pool                                                 When was the debt incurred?
          17 State Street, 38th Floor
          New York, NY 10004
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Consulting services


 4.3
 8        David Arevalo                                              Last 4 digits of account number                                                        $4,055.88
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Consulting services


 4.3
 9        De Sitter Flooring, Inc.                                   Last 4 digits of account number                                                        $8,331.05
          Nonpriority Creditor's Name
          1 Timber Court                                             When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Mechanic's lien




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 37 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.4
 0        DeKane Equipment Corporation                               Last 4 digits of account number       LLO2                                               $493.47
          Nonpriority Creditor's Name
          47 W. 619 US Rt. 30                                        When was the debt incurred?
          POB 157
          Big Rock, IL 60511
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Equipment supplier


 4.4
 1        Don Snow Flooring, Inc.                                    Last 4 digits of account number                                                      $28,943.80
          Nonpriority Creditor's Name
          2660 Kettlehook Drive                                      When was the debt incurred?
          Elgin, IL 60124
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Flooring services


 4.4
 2        Doors by Russ, Inc.                                        Last 4 digits of account number                                                        $8,996.00
          Nonpriority Creditor's Name
          11941 S. Aero Drive                                        When was the debt incurred?
          Plainfield, IL 60585
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Garage door supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 38 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.4
 3        Earth Mover Credit Union                                   Last 4 digits of account number       9757                                             $3,420.32
          Nonpriority Creditor's Name
          VISA                                                       When was the debt incurred?
          POB 4521
          Carol Stream, IL 60197-4521
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card - general merchandise


 4.4
 4        EBF Partners, LLC                                          Last 4 digits of account number                                                      $61,495.00
          Nonpriority Creditor's Name
          11911 Warfield Street                                      When was the debt incurred?
          San Antonio, TX 78216-3216
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.4
 5        Endeavor Hardwoods, Inc.                                   Last 4 digits of account number                                                        $1,787.36
          Nonpriority Creditor's Name
          100 E. Industrial Drive                                    When was the debt incurred?
          POB 21
          Lyndon Station, WI 53944
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lumber supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 45
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 39 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.4
 6        Energy Busters                                             Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          POB 71                                                     When was the debt incurred?
          Dundee, IL 60118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insulation services


 4.4
 7        Energy Smart Insulation                                    Last 4 digits of account number                                                        $5,135.00
          Nonpriority Creditor's Name
          POB 34                                                     When was the debt incurred?
          Carpentersville, IL 60110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insulation services


 4.4
 8        Euro Marble Supply, Ltd.                                   Last 4 digits of account number                                                            $61.00
          Nonpriority Creditor's Name
          4552 N. Ruby Street                                        When was the debt incurred?
          Schiller Park, IL 60176
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Stone supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 40 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.4
 9        Expansion Capital Group                                    Last 4 digits of account number       2471                                           $38,078.92
          Nonpriority Creditor's Name
          5020 S. Broadway Lane, Ste. 100                            When was the debt incurred?
          Sioux Falls, SD 57108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.5
 0        Ferguson Enterprises, Inc.                                 Last 4 digits of account number                                                     $135,572.00
          Nonpriority Creditor's Name
          POB 802817                                                 When was the debt incurred?
          Chicago, IL 60660
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plumbing supplier


 4.5
 1        First Insurance Group                                      Last 4 digits of account number       9396                                           $31,664.00
          Nonpriority Creditor's Name
          11000 E. US Hwy. 34, Ste. 1                                When was the debt incurred?
          Plano, IL 60545
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 41 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.5
 2        First National Bank of Omaha                               Last 4 digits of account number       9016                                               $914.85
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)


 4.5
 3        First National Bank of Omaha                               Last 4 digits of account number       4505                                             $5,147.63
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)


 4.5
 4        First National Bank of Omaha                               Last 4 digits of account number       4980                                             $2,135.01
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 42 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.5
 5        First National Bank of Omaha                               Last 4 digits of account number       7866                                             $1,099.12
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)


 4.5
 6        First National Bank of Omaha                               Last 4 digits of account number       1354                                               $863.15
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)


 4.5
 7        First National Bank of Omaha                               Last 4 digits of account number       1461                                          $246,522.04
          Nonpriority Creditor's Name
          POB 2490                                                   When was the debt incurred?
          Omaha, NE 68103-2490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business credit card (Hellyer Custom
              Yes                                                       Other. Specify   Carpentry, Inc.)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 43 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.5
 8        Gary Johnston Plastering & Drywall                         Last 4 digits of account number                                                      $47,232.00
          Nonpriority Creditor's Name
          720 Heartland Drive                                        When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Dry wall services


 4.5
 9        Groot Industries, Inc.                                     Last 4 digits of account number       8700                                               $800.40
          Nonpriority Creditor's Name
          POB 309                                                    When was the debt incurred?
          Elk Grove Village, IL 60009
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Waste services


 4.6
 0        H Squared Real Estate Investments                          Last 4 digits of account number                                                      $30,962.24
          Nonpriority Creditor's Name
          8941 Biloba Street                                         When was the debt incurred?
          Orland Park, IL 60462
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Realty services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 44 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.6
 1        Hahn Systems, LLC                                          Last 4 digits of account number       6863                                                 $75.70
          Nonpriority Creditor's Name
          8416 Zionsville Road                                       When was the debt incurred?
          Indianapolis, IN 46268
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Building materials supplier


 4.6
 2        Hellyer Custom Builders, Inc.                              Last 4 digits of account number                                                      $23,068.66
          Nonpriority Creditor's Name
          1999 Bucktail Lane                                         When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Building services


 4.6
 3        Hines Supply                                               Last 4 digits of account number       6590                                           $28,046.84
          Nonpriority Creditor's Name
          703 W. Wesley Street                                       When was the debt incurred?
          Wheaton, IL 60187
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lumber supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 45 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.6
 4        Hines Supply                                               Last 4 digits of account number       6590                                           $25,883.60
          Nonpriority Creditor's Name
          703 W. Wesley Street                                       When was the debt incurred?
          Wheaton, IL 60187
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lumber supplier


 4.6
 5        Huck Bouma, PC                                             Last 4 digits of account number                                                        $4,366.25
          Nonpriority Creditor's Name
          1755 S. Naperville Road, Ste. 200                          When was the debt incurred?
          Wheaton, IL 60189
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Attorney fees


 4.6
 6        Huck Bouma, PC                                             Last 4 digits of account number       4768                                                   $0.00
          Nonpriority Creditor's Name
          1755 S. Naperville Road, Ste. 200                          When was the debt incurred?
          Wheaton, IL 60189
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Attorney fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 46 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.6
 7        Huss Lawn Care, Inc.                                       Last 4 digits of account number                                                            $90.00
          Nonpriority Creditor's Name
          255 Legner Street                                          When was the debt incurred?
          Leland, IL 60531
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawn services


 4.6
 8        Jeff Wehrli Excavating, Inc.                               Last 4 digits of account number                                                      $15,356.50
          Nonpriority Creditor's Name
          25 W 025 Ramm Drive                                        When was the debt incurred?
          Naperville, IL 60564
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Excavating services


 4.6
 9        Knight Capital Funding                                     Last 4 digits of account number                                                      $50,694.02
          Nonpriority Creditor's Name
          9 E. Loockerman Street, #3A-543                            When was the debt incurred?
          Dover, DE 19901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 47 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.7
 0        KPS Plumbing, LLC                                          Last 4 digits of account number                                                      $24,429.51
          Nonpriority Creditor's Name
          1494 Westbury Circle                                       When was the debt incurred?
          North Aurora, IL 60542
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plumbing services


 4.7
 1        Lake Shore Recycling                                       Last 4 digits of account number       4058                                             $3,273.63
          Nonpriority Creditor's Name
          1655 Powess Road                                           When was the debt incurred?
          West Chicago, IL 60185
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Recycling services


 4.7
 2        Liberty Paving                                             Last 4 digits of account number                                                        $2,200.00
          Nonpriority Creditor's Name
          1420 Liberty Street                                        When was the debt incurred?
          Aurora, IL 60505
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Paving services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 48 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.7
 3        Littman Brothers Lighting                                  Last 4 digits of account number                                                        $2,725.25
          Nonpriority Creditor's Name
          845 S. Roselle Road                                        When was the debt incurred?
          Schaumburg, IL 60173
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lighting supplier


 4.7
 4        Matthew James Carpentry & Design                           Last 4 digits of account number                                                        $4,450.00
          Nonpriority Creditor's Name
          578 Republic Ave.                                          When was the debt incurred?
          Batavia, IL 60510
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services


 4.7
 5        Max 1 Construction, Inc.                                   Last 4 digits of account number                                                        $4,620.00
          Nonpriority Creditor's Name
          655 Pheasant Trail                                         When was the debt incurred?
          Saint Charles, IL 60174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Construction services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 49 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.7
 6        McGee Architects                                           Last 4 digits of account number                                                        $8,468.00
          Nonpriority Creditor's Name
          POB 460                                                    When was the debt incurred?
          Batavia, IL 60510
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Architecture services


 4.7
 7        Mediacom                                                   Last 4 digits of account number       1062                                               $739.80
          Nonpriority Creditor's Name
          POB 5744                                                   When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cable services


 4.7
 8        Michael P. Coghlan                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          444 E. Hillcrest Drive, Ste. 330                           When was the debt incurred?
          DeKalb, IL 60115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection - Alfredo's Iron Works, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 50 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.7
 9        Modaff's Norwood Concrete, Inc.                            Last 4 digits of account number                                                      $35,879.00
          Nonpriority Creditor's Name
          11215 S. Naperville Road                                   When was the debt incurred?
          Plainfield, IL 60585
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Concrete services


 4.8
 0        Moment Design                                              Last 4 digits of account number                                                      $15,950.00
          Nonpriority Creditor's Name
          201 E. Ogden Ave., Ste. 2                                  When was the debt incurred?
          Hinsdale, IL 60521
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Architecture services


 4.8
 1        Navient                                                    Last 4 digits of account number       6094                                          $111,566.38
          Nonpriority Creditor's Name
          POB 9533                                                   When was the debt incurred?
          Wilkes Barre, PA 18773-9533
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 51 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.8
 2        Nicor Gas                                                  Last 4 digits of account number       1011                                               $640.59
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.8
 3        Nicor Gas                                                  Last 4 digits of account number       0001                                                   $0.00
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.8
 4        Nicor Gas                                                  Last 4 digits of account number       7437                                                   $0.00
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 52 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.8
 5        Nicor Gas                                                  Last 4 digits of account number       1219                                                   $0.00
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.8
 6        Nicor Gas                                                  Last 4 digits of account number       0344                                                   $0.00
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.8
 7        Nicor Gas                                                  Last 4 digits of account number       2173                                                   $0.00
          Nonpriority Creditor's Name
          POB 5407                                                   When was the debt incurred?
          Carol Stream, IL 60197-5407
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 53 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.8
 8        NJS Electric, LLC                                          Last 4 digits of account number                                                      $27,361.95
          Nonpriority Creditor's Name
          28783 W. Rivers Edge                                       When was the debt incurred?
          Cary, IL 60013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insulation services


 4.8
 9        NJS Electric, LLC                                          Last 4 digits of account number                                                      $11,636.00
          Nonpriority Creditor's Name
          28783 W. Rivers Edge                                       When was the debt incurred?
          Cary, IL 60013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insulation services


 4.9
 0        O'Shea Electric, Inc.                                      Last 4 digits of account number                                                      $31,277.00
          Nonpriority Creditor's Name
          805 Karen Drive                                            When was the debt incurred?
          Hampshire, IL 60140
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insulation services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 32 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 54 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.9
 1        Oak Tree Properties, LLC                                   Last 4 digits of account number                                                      $22,750.00
          Nonpriority Creditor's Name
          1999 Bucktail Lane                                         When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services


 4.9
 2        Pierce Laminated Products                                  Last 4 digits of account number                                                          $957.29
          Nonpriority Creditor's Name
          2430 N. Court Street                                       When was the debt incurred?
          Rockford, IL 61103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Manufacturing services


 4.9
 3        Pinnacle Stairs                                            Last 4 digits of account number                                                      $14,080.00
          Nonpriority Creditor's Name
          1212 N. Webster Street                                     When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Stair services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 55 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.9
 4        Pirch                                                      Last 4 digits of account number       R29P                                           $21,327.65
          Nonpriority Creditor's Name
          9620 Town Centre Drive, Ste. 100                           When was the debt incurred?
          San Diego, CA 92121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Fixtures supplier


 4.9
 5        PPG Paints                                                 Last 4 digits of account number                                                        $4,134.60
          Nonpriority Creditor's Name
          918 Industrial Drive                                       When was the debt incurred?
          Aurora, IL 60506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Painting services


 4.9
 6        ProSource of Naperville                                    Last 4 digits of account number                                                            $43.03
          Nonpriority Creditor's Name
          2012 Corporate Lane, Ste. 136                              When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Flooring supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 34 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 56 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.9
 7        Ready Refresh                                              Last 4 digits of account number       3905                                                 $30.67
          Nonpriority Creditor's Name
          POB 856680                                                 When was the debt incurred?
          Louisville, KY 40285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Water delivery services


 4.9
 8        Ready Refresh                                              Last 4 digits of account number       5202                                                   $0.00
          Nonpriority Creditor's Name
          POB 856680                                                 When was the debt incurred?
          Louisville, KY 40285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Water delivery services


 4.9
 9        Republic Services                                          Last 4 digits of account number       2178                                               $410.00
          Nonpriority Creditor's Name
          POB 9001154                                                When was the debt incurred?
          Louisville, KY 40290
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Waste services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 35 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 57 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 00       RGB Mechanical, Inc.                                       Last 4 digits of account number                                                      $30,320.00
          Nonpriority Creditor's Name
          432 Treasure Drive                                         When was the debt incurred?
          Oswego, IL 60543
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Mechanical and electrical services


 4.1
 01       Richelieu                                                  Last 4 digits of account number       6734                                             $1,609.00
          Nonpriority Creditor's Name
          7021 Sterling Ponds Blvd.                                  When was the debt incurred?
          Sterling Heights, MI 48312
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Hardware supplier


 4.1
 02       Scheck Lumber Co., Inc.                                    Last 4 digits of account number       1294                                          $158,245.44
          Nonpriority Creditor's Name
          920 18th Street                                            When was the debt incurred?
          Broadview, IL 60155
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lumber supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 36 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 58 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 03       Schueler's Custom Carpentry, Inc.                          Last 4 digits of account number                                                      $11,450.00
          Nonpriority Creditor's Name
          3 N 584 Illinois Rt. 47                                    When was the debt incurred?
          Maple Park, IL 60151
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services


 4.1
 04       Schueler's Custom Carpentry, Inc.                          Last 4 digits of account number                                                        $7,475.00
          Nonpriority Creditor's Name
          3 N 584 Illinois Rt. 47                                    When was the debt incurred?
          Maple Park, IL 60151
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpentry services


 4.1
 05       St. Charles Closets, Inc.                                  Last 4 digits of account number                                                      $31,419.14
          Nonpriority Creditor's Name
          401 Stevens Street                                         When was the debt incurred?
          Geneva, IL 60134
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cabinetry services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 37 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 59 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 06       Strictly Carpet, Inc.                                      Last 4 digits of account number                                                        $1,082.95
          Nonpriority Creditor's Name
          27 Robert Road                                             When was the debt incurred?
          Oswego, IL 60543
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Carpet services


 4.1
 07       Studio 41                                                  Last 4 digits of account number                                                      $39,152.98
          Nonpriority Creditor's Name
          1320 N. Rte. 59, Ste. 146                                  When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Home design services


 4.1
 08       The Lawn Specialist                                        Last 4 digits of account number                                                          $405.00
          Nonpriority Creditor's Name
          POB 88                                                     When was the debt incurred?
          Somonauk, IL 60552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawn services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 60 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 09       The Lawn Specialist                                        Last 4 digits of account number                                                          $225.00
          Nonpriority Creditor's Name
          POB 88                                                     When was the debt incurred?
          Somonauk, IL 60552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawn services


 4.1
 10       TNS Enterprises, Inc.                                      Last 4 digits of account number                                                        $1,520.00
          Nonpriority Creditor's Name
          8931 Windsor Lane                                          When was the debt incurred?
          Bridgeview, IL 60455
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Engineering services


 4.1
 11       Top Knobs                                                  Last 4 digits of account number       R090                                             $1,312.03
          Nonpriority Creditor's Name
          170 Township Line Road                                     When was the debt incurred?
          Hillsborough, NJ 08844
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Hardware supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 39 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 61 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 12       US Department of Education                                 Last 4 digits of account number       7722                                           $30,459.31
          Nonpriority Creditor's Name
          POB 740283                                                 When was the debt incurred?
          Atlanta, GA 30374-0283
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 13       Verizon                                                    Last 4 digits of account number       0002                                             $1,206.25
          Nonpriority Creditor's Name
          POB 15124                                                  When was the debt incurred?
          Albany, NY 12212-5124
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Phone services


 4.1
 14       Village of Sugar Grove                                     Last 4 digits of account number       3802                                                 $81.36
          Nonpriority Creditor's Name
          10 S. Municipal Drive                                      When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 40 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 62 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 15       Village of Sugar Grove                                     Last 4 digits of account number       HELLYER                                              $87.38
          Nonpriority Creditor's Name
          10 S. Municipal Drive                                      When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.1
 16       Village of Sugar Grove                                     Last 4 digits of account number       3602                                                   $0.00
          Nonpriority Creditor's Name
          10 S. Municipal Drive                                      When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.1
 17       Warner Cabinets, Inc.                                      Last 4 digits of account number                                                      $42,529.43
          Nonpriority Creditor's Name
          1999 Bucktail Lane, Ste. 4                                 When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cabinetry services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 41 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 63 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 18       Warner Cabinets, Inc.                                      Last 4 digits of account number                                                        $1,000.00
          Nonpriority Creditor's Name
          1999 Bucktail Lane, Ste. 4                                 When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cabinetry services


 4.1
 19       Wayfair/Comenity                                           Last 4 digits of account number                                                          $225.37
          Nonpriority Creditor's Name
          POB 182273                                                 When was the debt incurred?
          Columbus, OH 43218-2273
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business credit card - home goods


 4.1
 20       Weaver Consultants Group                                   Last 4 digits of account number                                                      $29,275.00
          Nonpriority Creditor's Name
          1316 Bond Street, Ste. 108                                 When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Environmental consulting services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 42 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                       Desc Main
                                                                  Document     Page 64 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 21       Wesley Holland                                             Last 4 digits of account number                                                          $580.00
          Nonpriority Creditor's Name
          99 W. Park Ave., Unit B                                    When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Vendor


 4.1
 22       Workhorse Enterprises, Inc.                                Last 4 digits of account number                                                        $2,854.00
          Nonpriority Creditor's Name
          623 Tuscan View                                            When was the debt incurred?
          Elgin, IL 60124
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Moving services


 4.1
 23       Workhorse Enterprises, Inc.                                Last 4 digits of account number                                                          $760.00
          Nonpriority Creditor's Name
          623 Tuscan View                                            When was the debt incurred?
          Elgin, IL 60124
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Moving services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 43 of 45
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                        Desc Main
                                                                  Document     Page 65 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                                Case number (if know)

 4.1
 24        Wurth                                                     Last 4 digits of account number                                                         $2,111.46
           Nonpriority Creditor's Name
           909 Forest Edge Drive                                     When was the debt incurred?
           Vernon Hills, IL 60061
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Mechanical supplier


 4.1
 25        Zizzo Decorating Co.                                      Last 4 digits of account number                                                       $45,860.00
           Nonpriority Creditor's Name
           208 Regency Court West                                    When was the debt incurred?
           Saint Charles, IL 60175
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Decorating services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  508,981.34
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  508,981.34

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                      30,459.31
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 44 of 45
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                           Desc Main
                                                                  Document     Page 66 of 104
 Debtor 1 David T. Hellyer, Jr.
 Debtor 2 Renee P. Hellyer                                                                           Case number (if know)

                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             1,800,735.64

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             1,831,194.95




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 45 of 45
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                       Case 18-10403               Doc 1           Filed 04/10/18 Entered 04/10/18 12:04:30                         Desc Main
                                                                    Document     Page 67 of 104
 Fill in this information to identify your case:

 Debtor 1                  David T. Hellyer, Jr.
                           First Name                         Middle Name              Last Name

 Debtor 2                  Renee P. Hellyer
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                       Case 18-10403                 Doc 1            Filed 04/10/18 Entered 04/10/18 12:04:30              Desc Main
                                                                       Document     Page 68 of 104
 Fill in this information to identify your case:

 Debtor 1                   David T. Hellyer, Jr.
                            First Name                            Middle Name       Last Name

 Debtor 2                   Renee P. Hellyer
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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                      Case 18-10403         Doc 1         Filed 04/10/18 Entered 04/10/18 12:04:30                            Desc Main
                                                           Document     Page 69 of 104


Fill in this information to identify your case:

Debtor 1                      David T. Hellyer, Jr.

Debtor 2                      Renee P. Hellyer
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS EASTERN
                                              DIVISION

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $              0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
              Case 18-10403             Doc 1        Filed 04/10/18 Entered 04/10/18 12:04:30                                     Desc Main
                                                      Document     Page 70 of 104

Debtor 1    David T. Hellyer, Jr.
Debtor 2    Renee P. Hellyer                                                                      Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
      5e.    Insurance                                                                     5e.        $              0.00     $                0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
      5g.    Union dues                                                                    5g.        $              0.00     $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $               0.00 = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.   $             0.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
              Case 18-10403                Doc 1         Filed 04/10/18 Entered 04/10/18 12:04:30                                     Desc Main
                                                          Document     Page 71 of 104


Fill in this information to identify your case:

Debtor 1                 David T. Hellyer, Jr.                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                 Renee P. Hellyer                                                                      A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS EASTERN                                      MM / DD / YYYY
                                          DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             19                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             3,295.96

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            266.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
            Case 18-10403                  Doc 1         Filed 04/10/18 Entered 04/10/18 12:04:30                                      Desc Main
                                                          Document     Page 72 of 104

Debtor 1     David T. Hellyer, Jr.
Debtor 2     Renee P. Hellyer                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 30.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                300.00
      6d. Other. Specify: Lawn care, pest control                                            6d. $                                                 97.00
7.    Food and housekeeping supplies                                                           7. $                                             1,200.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 0.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 573.21
      15b. Health insurance                                                                15b. $                                               1,200.00
      15c. Vehicle insurance                                                               15c. $                                                 295.10
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                               1,250.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                 670.00
      17c. Other. Specify: Cobalt boat                                                     17c. $                                                 700.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                         $                                                450.00
      Specify: School loans                                                                  19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      11,127.27
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      11,127.27
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             11,127.27

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -11,127.27

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                         Desc Main
                                                                  Document     Page 73 of 104




 Fill in this information to identify your case:

 Debtor 1                    David T. Hellyer, Jr.
                             First Name                     Middle Name             Last Name

 Debtor 2                    Renee P. Hellyer
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ David T. Hellyer, Jr.                                                 X   /s/ Renee P. Hellyer
              David T. Hellyer, Jr.                                                     Renee P. Hellyer
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       April 10, 2018                                                 Date    April 10, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                  Desc Main
                                                                  Document     Page 74 of 104


 Fill in this information to identify your case:

 Debtor 1                  David T. Hellyer, Jr.
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Renee P. Hellyer
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,                       $0.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                  Case 18-10403                   Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                  Desc Main
                                                                  Document     Page 75 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                            Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                              Wages, commissions,                       $35,000.00            Wages, commissions,            $15,000.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                      $157,743.00            Wages, commissions,            $34,039.00
 (January 1 to December 31, 2016 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year:                               Wages, commissions,                         $4,000.00           Wages, commissions,            $40,769.00
 (January 1 to December 31, 2015 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                      $166,569.00            Wages, commissions,                    $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For the calendar year before that:                D&A Property                                $118,003.00
 (January 1 to December 31, 2016 )                 Management, LLC -
                                                   Rents Received


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                Desc Main
                                                                  Document     Page 76 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                            Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                   Desc Main
                                                                  Document     Page 77 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                            Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Our Savior Lutheran Church                                    Money                                                    2016                      $9,000.00
       1244 Army Trail Road
       Carol Stream, IL 60188


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Carl F. Safanda                                               Attorney Fees                                            4/9/18                    $2,165.00
       Safanda Law Firm
       111 East Side Drive
       Geneva, IL 60134
       Plegal@xnet.com




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                Desc Main
                                                                  Document     Page 78 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                            Case number (if known)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                 Desc Main
                                                                  Document     Page 79 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                                 Case number (if known)


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
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                 Case 18-10403                       Doc 1       Filed 04/10/18 Entered 04/10/18 12:04:30                               Desc Main
                                                                  Document     Page 80 of 104
 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                            Case number (if known)


             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Hellyer Custom Builders, Inc.                            General contractor                              EIN:         XX-XXXXXXX
        1999 Bucktail Lane, Ste. 4
        Sugar Grove, IL 60554                                    Clifton Larsen Allen LLP                        From-To      2010 - 2018

        Hellyer Custom Carpentry, Inc.                           Carpentry contractor                            EIN:         XX-XXXXXXX
        1999 Bucktail Lane, Ste. 4
        Sugar Grove, IL 60554                                    Clifton Larsen Allen LLP                        From-To      2008 - 2016

        D&A Property Management, LLC                             Contract purchaser of building in               EIN:
        1999 Bucktail Lane, Ste. 4                               Sugar Grove, IL
        Sugar Grove, IL 60554                                                                                    From-To      2015 - 2018
                                                                 Clifton Larsen Allen LLP

        Warner Cabinets, Inc.                                    Cabinetry                                       EIN:         XX-XXXXXXX
        1999 Bucktail Lane, Ste. 4
        Sugar Grove, IL 60554                                    Clifton Larsen Allen LLP                        From-To      2015 - 2018

        Oak Tree Properties, LLC                                 Contract purchaser of building in               EIN:
        1999 Bucktail Lane, Ste. 4                               Somonauk, IL
        Sugar Grove, IL 60554                                                                                    From-To      2016 - 2018
                                                                 Clifton Larsen Allen LLP


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David T. Hellyer, Jr.                                               /s/ Renee P. Hellyer
 David T. Hellyer, Jr.                                                   Renee P. Hellyer
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      April 10, 2018                                                Date     April 10, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30               Desc Main
                                                                  Document     Page 81 of 104

 Fill in this information to identify your case:

 Debtor 1                   David T. Hellyer, Jr.
                            First Name                      Middle Name              Last Name

 Debtor 2                   Renee P. Hellyer
 (Spouse if, filing)        First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Case number
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          Citizens Bank                                       Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         2016 Ford F350 70,000 miles                      Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's          Mr. Cooper                                          Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         211 Ehrenwald Drive Millington,                  Reaffirmation Agreement.
    property               IL 60537 Kendall County                          Retain the property and [explain]:
    securing debt:



    Creditor's          SunTrust Mortgage, Inc.                             Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         211 Ehrenwald Drive Millington,                  Reaffirmation Agreement.
    property               IL 60537 Kendall County                          Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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                  Case 18-10403                   Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                           Desc Main
                                                                  Document     Page 82 of 104

 Debtor 1      David T. Hellyer, Jr.
 Debtor 2      Renee P. Hellyer                                                                       Case number (if known)


     securing debt:



     Creditor's    US Bank                                                  Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     2014 Jeep Wrangler 55,000                           Reaffirmation Agreement.
     property           miles                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ David T. Hellyer, Jr.                                                    X /s/ Renee P. Hellyer
       David T. Hellyer, Jr.                                                            Renee P. Hellyer
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        April 10, 2018                                                   Date     April 10, 2018



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                   Desc Main
                                                                  Document     Page 83 of 104

 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
 Debtor 1               David T. Hellyer, Jr.
 Debtor 2               Renee P. Hellyer                                                                     1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
                                                    Northern District of Illinois Eastern
 United States Bankruptcy Court for the:                                                                         applies will be made under Chapter 7 Means Test
                                                    Division
                                                                                                                 Calculation (Official Form 122A-2).
 Case number                                                                                                 3. The Means Test does not apply now because of
 (if known)                                                                                                      qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                           $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                           $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                           $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from a business, profession, or farm $                           Copy here -> $                          $
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $                 Copy here -> $                          $
                                                                                                         $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                              Desc Main
                                                                  Document     Page 84 of 104
 Debtor 1     David T. Hellyer, Jr.
 Debtor 2     Renee P. Hellyer                                                                          Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ David T. Hellyer, Jr.                                              X /s/ Renee P. Hellyer
                David T. Hellyer, Jr.                                                     Renee P. Hellyer
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date April 10, 2018                                                        Date April 10, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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                  Case 18-10403                   Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                    Desc Main
                                                                  Document     Page 85 of 104

 Fill in this information to identify your case:

 Debtor 1            David T. Hellyer, Jr.

 Debtor 2           Renee P. Hellyer
 (Spouse, if filing)

                                                    Northern District of Illinois Eastern
 United States Bankruptcy Court for the:            Division
                                                                                                  Check if this is an amended filing
 Case number
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                         ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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                       Case 18-10403              Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                                   Desc Main
                                                                  Document     Page 86 of 104

 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
 Debtor 1               David T. Hellyer, Jr.
 Debtor 2               Renee P. Hellyer                                                                     1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
                                                    Northern District of Illinois Eastern
 United States Bankruptcy Court for the:                                                                         applies will be made under Chapter 7 Means Test
                                                    Division
                                                                                                                 Calculation (Official Form 122A-2).
 Case number                                                                                                 3. The Means Test does not apply now because of
 (if known)                                                                                                      qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                           $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                           $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                           $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from a business, profession, or farm $                           Copy here -> $                          $
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $                 Copy here -> $                          $
                                                                                                         $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                              Desc Main
                                                                  Document     Page 87 of 104
 Debtor 1     David T. Hellyer, Jr.
 Debtor 2     Renee P. Hellyer                                                                          Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ David T. Hellyer, Jr.                                              X /s/ Renee P. Hellyer
                David T. Hellyer, Jr.                                                     Renee P. Hellyer
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date April 10, 2018                                                        Date April 10, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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                  Case 18-10403                   Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                    Desc Main
                                                                  Document     Page 88 of 104

 Fill in this information to identify your case:

 Debtor 1            David T. Hellyer, Jr.

 Debtor 2           Renee P. Hellyer
 (Spouse, if filing)

                                                    Northern District of Illinois Eastern
 United States Bankruptcy Court for the:            Division
                                                                                                  Check if this is an amended filing
 Case number
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                         ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                  Desc Main
                                                                  Document     Page 89 of 104

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                    Desc Main
                                                                  Document     Page 90 of 104


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                    Desc Main
                                                                  Document     Page 91 of 104
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                 Desc Main
                                                                  Document     Page 92 of 104
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30                       Desc Main
                                                                  Document     Page 93 of 104
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                         Northern District of Illinois Eastern Division
             David T. Hellyer, Jr.
 In re       Renee P. Hellyer                                                                                 Case No.
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,165.00
             Prior to the filing of this statement I have received                                        $                     2,165.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the above debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay
               actions or any other adversary proceeding.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 10, 2018                                                           /s/ Carl F. Safanda
     Date                                                                     Carl F. Safanda 2440695
                                                                              Signature of Attorney
                                                                              Safanda Law Firm
                                                                              111 East Side Drive
                                                                              Geneva, IL 60134
                                                                              (630) 262-1761 Fax: (630) 262-1764
                                                                              Plegal@xnet.com
                                                                              Name of law firm




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                 Case 18-10403                    Doc 1          Filed 04/10/18 Entered 04/10/18 12:04:30              Desc Main
                                                                  Document     Page 94 of 104




                                                               United States Bankruptcy Court
                                                         Northern District of Illinois Eastern Division
            David T. Hellyer, Jr.
 In re      Renee P. Hellyer                                                                            Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                               101




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: April 10, 2018                                                 /s/ David T. Hellyer, Jr.
                                                                      David T. Hellyer, Jr.
                                                                      Signature of Debtor

 Date: April 10, 2018                                                 /s/ Renee P. Hellyer
                                                                      Renee P. Hellyer
                                                                      Signature of Debtor




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    Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                             Document     Page 95 of 104

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                      A & E Roofing & Siding, Inc.
                      20 S. Locust Street
                      Aurora, IL 60506


                      A Mirror Image
                      510 S. River Street
                      Batavia, IL 60510


                      Alfredo's Iron Works, Inc.
                      280 W. Lincoln Hwy.
                      Cortland, IL 60112


                      Amanda's Lawn Service
                      POB 612
                      Saint Charles, IL 60175


                      American Express
                      POB 0001
                      Los Angeles, CA 90096-8000


                      April Fresh Cleaning Services
                      10 S. 059 Schoger Drive, #19
                      Naperville, IL 60564


                      Artisan Millwork
                      720 N. 17th Street, #6
                      Saint Charles, IL 60174


                      Auto-Owners Insurance
                      POB 30315
                      Lansing, MI 48909-7815


                      BHFX Digital Imaging
                      80 W. Seegers Road
                      Arlington Heights, IL 60005


                      Bio Tile & Grout Restoration
                      785 Oakwood Road, Ste. E105
                      Lake Zurich, IL 60047


                      Blue Cross Blue Sheild
                      Health Care Service Corporation
                      25550 Network Place
                      Chicago, IL 60673
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                         Document     Page 96 of 104


                  Burke & Handley, PC
                  799 Roosevelt Road
                  Building 6, Ste. 108
                  Glen Ellyn, IL 60137-5908


                  Capital One
                  POB 6492
                  Carol Stream, IL 60197


                  Caywood & Associates, Inc.
                  11000 E. US Rt. 34, Ste. 1
                  Plano, IL 60545


                  Cincinnati Insurance
                  POB 145620
                  Cincinnati, OH 45250-5620


                  Citi Cards
                  POB 78045
                  Phoenix, AZ 85062-8045


                  Citizens Bank
                  900 E. Market Street
                  Somonauk, IL 60552


                  Clean Art Works, Inc.
                  200 Winnsboro Court
                  Schaumburg, IL 60193


                  Clifton Larson Allen LLP
                  POB 775439
                  Chicago, IL 60677


                  CNA Surety
                  POB 802876
                  Chicago, IL 60680-2876


                  ComEd
                  POB 6111
                  Carol Stream, IL 60197-6111


                  Community Disposal
                  POB 6
                  Sandwich, IL 60548
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                         Document     Page 97 of 104


                  Correct Monitoring Services
                  3677 N. Illinois Rte. 71
                  Sheridan, IL 60551


                  Country Scape Landscaping, Inc.
                  1020 Cedar Ave., #2G
                  Saint Charles, IL 60174


                  D&A Property Management, LLC
                  1999 Bucktail Lane
                  Sugar Grove, IL 60554


                  Daniel Duffy
                  Clear Pool
                  17 State Street, 38th Floor
                  New York, NY 10004


                  David Arevalo



                  De Sitter Flooring, Inc.
                  1 Timber Court
                  Bolingbrook, IL 60440


                  DeKane Equipment Corporation
                  47 W. 619 US Rt. 30
                  POB 157
                  Big Rock, IL 60511


                  Don Snow Flooring, Inc.
                  2660 Kettlehook Drive
                  Elgin, IL 60124


                  Doors by Russ, Inc.
                  11941 S. Aero Drive
                  Plainfield, IL 60585


                  Earth Mover Credit Union
                  VISA
                  POB 4521
                  Carol Stream, IL 60197-4521


                  EBF Partners, LLC
                  11911 Warfield Street
                  San Antonio, TX 78216-3216
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                         Document     Page 98 of 104


                  Endeavor Hardwoods, Inc.
                  100 E. Industrial Drive
                  POB 21
                  Lyndon Station, WI 53944


                  Energy Busters
                  POB 71
                  Dundee, IL 60118


                  Energy Smart Insulation
                  POB 34
                  Carpentersville, IL 60110


                  Euro Marble Supply, Ltd.
                  4552 N. Ruby Street
                  Schiller Park, IL 60176


                  Expansion Capital Group
                  5020 S. Broadway Lane, Ste. 100
                  Sioux Falls, SD 57108


                  Ferguson Enterprises, Inc.
                  POB 802817
                  Chicago, IL 60660


                  First Insurance Group
                  11000 E. US Hwy. 34, Ste. 1
                  Plano, IL 60545


                  First National Bank of Omaha
                  POB 2490
                  Omaha, NE 68103-2490


                  Gary Johnston Plastering & Drywall
                  720 Heartland Drive
                  Sugar Grove, IL 60554


                  Groot Industries, Inc.
                  POB 309
                  Elk Grove Village, IL 60009


                  H Squared Real Estate Investments
                  8941 Biloba Street
                  Orland Park, IL 60462
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                         Document     Page 99 of 104


                  Hahn Systems, LLC
                  8416 Zionsville Road
                  Indianapolis, IN 46268


                  Hellyer Custom Builders, Inc.
                  1999 Bucktail Lane
                  Sugar Grove, IL 60554


                  Hines Supply
                  703 W. Wesley Street
                  Wheaton, IL 60187


                  Huck Bouma, PC
                  1755 S. Naperville Road, Ste. 200
                  Wheaton, IL 60189


                  Huntington Installment Loans
                  POB 18259
                  Columbus, OH 43218-2519


                  Huss Lawn Care, Inc.
                  255 Legner Street
                  Leland, IL 60531


                  IL Dept. of Employment Security
                  33 S. State Street, 10th Floor
                  Chicago, IL 60603-2802


                  Illinois Dept. of Revenue
                  Bankruptcy Section, Level 7-425
                  100 W. Randolph Street
                  Chicago, IL 60602


                  Internal Revenue Service
                  230 S. Dearborn Street
                  Mail Stop 5010 CHI
                  Chicago, IL 60604


                  Jeff Wehrli Excavating, Inc.
                  25 W 025 Ramm Drive
                  Naperville, IL 60564


                  Knight Capital Funding
                  9 E. Loockerman Street, #3A-543
                  Dover, DE 19901
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                        Document      Page 100 of 104


                  KPS Plumbing, LLC
                  1494 Westbury Circle
                  North Aurora, IL 60542


                  Lake Shore Recycling
                  1655 Powess Road
                  West Chicago, IL 60185


                  Liberty Paving
                  1420 Liberty Street
                  Aurora, IL 60505


                  Littman Brothers Lighting
                  845 S. Roselle Road
                  Schaumburg, IL 60173


                  Matthew James Carpentry & Design
                  578 Republic Ave.
                  Batavia, IL 60510


                  Max 1 Construction, Inc.
                  655 Pheasant Trail
                  Saint Charles, IL 60174


                  McGee Architects
                  POB 460
                  Batavia, IL 60510


                  Mediacom
                  POB 5744
                  Carol Stream, IL 60197


                  Michael P. Coghlan
                  444 E. Hillcrest Drive, Ste. 330
                  DeKalb, IL 60115


                  Modaff's Norwood Concrete, Inc.
                  11215 S. Naperville Road
                  Plainfield, IL 60585


                  Moment Design
                  201 E. Ogden Ave., Ste. 2
                  Hinsdale, IL 60521
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                        Document      Page 101 of 104


                  Mr. Cooper
                  POB 65073
                  Dallas, TX 75265-0783


                  Navient
                  POB 9533
                  Wilkes Barre, PA 18773-9533


                  Nicor Gas
                  POB 5407
                  Carol Stream, IL 60197-5407


                  NJS Electric, LLC
                  28783 W. Rivers Edge
                  Cary, IL 60013


                  O'Shea Electric, Inc.
                  805 Karen Drive
                  Hampshire, IL 60140


                  Oak Tree Properties, LLC
                  1999 Bucktail Lane
                  Sugar Grove, IL 60554


                  Pierce Laminated Products
                  2430 N. Court Street
                  Rockford, IL 61103


                  Pinnacle Stairs
                  1212 N. Webster Street
                  Naperville, IL 60563


                  Pirch
                  9620 Town Centre Drive, Ste. 100
                  San Diego, CA 92121


                  PPG Paints
                  918 Industrial Drive
                  Aurora, IL 60506


                  ProSource of Naperville
                  2012 Corporate Lane, Ste. 136
                  Naperville, IL 60563
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                        Document      Page 102 of 104


                  Ready Refresh
                  POB 856680
                  Louisville, KY 40285


                  Republic Services
                  POB 9001154
                  Louisville, KY 40290


                  RGB Mechanical, Inc.
                  432 Treasure Drive
                  Oswego, IL 60543


                  Richelieu
                  7021 Sterling Ponds Blvd.
                  Sterling Heights, MI 48312


                  Scheck Lumber Co., Inc.
                  920 18th Street
                  Broadview, IL 60155


                  Schueler's Custom Carpentry, Inc.
                  3 N 584 Illinois Rt. 47
                  Maple Park, IL 60151


                  St. Charles Closets, Inc.
                  401 Stevens Street
                  Geneva, IL 60134


                  Strictly Carpet, Inc.
                  27 Robert Road
                  Oswego, IL 60543


                  Studio 41
                  1320 N. Rte. 59, Ste. 146
                  Naperville, IL 60563


                  SunTrust Mortgage, Inc.
                  POB 79041
                  Baltimore, MD 21279-0041


                  The Lawn Specialist
                  POB 88
                  Somonauk, IL 60552
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                        Document      Page 103 of 104


                  TNS Enterprises, Inc.
                  8931 Windsor Lane
                  Bridgeview, IL 60455


                  Top Knobs
                  170 Township Line Road
                  Hillsborough, NJ 08844


                  US Bank
                  POB 790179
                  Saint Louis, MO 63179-0179


                  US Department of Education
                  POB 740283
                  Atlanta, GA 30374-0283


                  Verizon
                  POB 15124
                  Albany, NY 12212-5124


                  Village of Sugar Grove
                  10 S. Municipal Drive
                  Sugar Grove, IL 60554


                  Warner Cabinets, Inc.
                  1999 Bucktail Lane, Ste. 4
                  Sugar Grove, IL 60554


                  Wayfair/Comenity
                  POB 182273
                  Columbus, OH 43218-2273


                  Weaver Consultants Group
                  1316 Bond Street, Ste. 108
                  Naperville, IL 60563


                  Wesley Holland
                  99 W. Park Ave., Unit B
                  Sugar Grove, IL 60554


                  Workhorse Enterprises, Inc.
                  623 Tuscan View
                  Elgin, IL 60124
Case 18-10403   Doc 1   Filed 04/10/18 Entered 04/10/18 12:04:30   Desc Main
                        Document      Page 104 of 104


                  Wurth
                  909 Forest Edge Drive
                  Vernon Hills, IL 60061


                  Zizzo Decorating Co.
                  208 Regency Court West
                  Saint Charles, IL 60175
